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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


IN RE: ASHINC CORPORATION, et al.,   :   Chapter 11
                                     :   Bankr. No. 12-11564 (CSS)
               Debtors.              :   (Jointly Administered)
___________________________________________

CATHERINE E. YOUNGMAN,               :
LITIGATION TRUSTEE FOR ASHINC        :
CORPORATION, ET AL., AS              :
SUCCESSOR TO THE OFFICIAL            :
COMMITTEE OF UNSECURED               :
CREDITORS OF ASHINC                  :
CORPORATION, AND ITS AFFILIATED      :
DEBTORS,                             :
                                     :   Civ. No. 21-994-CFC
                Plaintiff,           :
                                     :
BDCM OPPORTUNITY FUND II, LP,        :
BLACK DIAMOND CLO 2005-1 LTD.,       :
and SPECTRUM INVESTMENT              :
PARTNERS, L.P.,                      :
                                     :
                Intervenors,         :
                                     :
                v.                   :
                                     :
YUCAIPA AMERICAN ALLIANCE FUND :
L.P., AND YUCAIPA AMERICAN           :
ALLIANCE (PARALLEL) FUND I, L.P., :
                                     :
                Defendants.          :
____________________________________________
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CATHERINE E. YOUNGMAN,               :
LITIGATION TRUSTEE FOR ASHINC        :
CORPORATION, ET AL., AS              :
SUCCESSOR TO BDCM OPPORTUNITY        :
FUND II, LP, BLACK DIAMOND           :
COMMERCIAL FINANCE, L.L.C., as       :
co-administrative agent, and SPECTRUM:
COMMERCIAL FINANCE LLC, as           :
co-administrative agent,             :
                                     :   Civ. No. 21-995-CFC
                  Plaintiff,         :
                                     :
YUCAIPA AMERICAN ALLIANCE FUND:
I, L.P., and YUCAIPA AMERICAN        :
ALLIANCE (PARALLEL) FUND I, L.P., :
                                     :
                  Defendants.        :
_________________________________________________________________

                                     ORDER

      Appellants filed a motion asking me to stay the enforcement of the

Bankruptcy Court’s judgments being appealed or alternatively to waive the bond

requirement of Federal Rule of Civil Procedure 62(b). D.I. 4. I denied that motion

for the reasons stated in a Memorandum Opinion issued on August 2, 2021. D.I.

34.

      Also on August 2, the Magistrate Judge issued a Recommendation in which

she recommended that the appeals remain in mandatory mediation and that a

“[s]tay in these appeals be extended until” the completion of the mediation. D.I.

33 at 4. Appellee has filed objections to the Recommendation. D.I. 39. Appellee



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objects to the Magistrate Judge’s recommendation that the appeals be stayed

pending completion of mediation. D.I. 39 at 3.

      I exercise de novo review of the Magistrate Judge’s recommendation. 28

U.S.C. § 636(b)(1)(C); FED. R. CIV. P. 72(b). And for the reasons stated in the

August 2 Memorandum Opinion I will overrule the Magistrate Judge’s

recommendation that the appeals be stayed pending completion of mandatory

mediation.

      Now therefore at Wilmington on this Eleventh day of August in 2021, it is

HEREBY ORDERED that:

      1.     Appellee’s objections to the Recommendation (D.I. 39) are

SUSTAINED;

      2.     The Recommendation (D.I. 33) is OVERRULED insofar as it

recommended the imposition of a stay and is ADOPTED in all other respects.



                                     ___________________________________
                                          CONNOLLY, CHIEF JUDGE




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